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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION



Kizzy Estes,                             )    CA No.: 5:17-cv-00834
                                          )
      Plaintiff (s),                     )
                                          )
       vs.                               ) ORDER TO CONDUCT MEDIATION
                                         )
Consuela Ferguson,, et al.               )
                                          )
      Defendant (s).                     )
     ______________________________________

        The parties are hereby ORDERED to conduct mediation on or before October 6, 2018.

Upon completion of the mediation, counsel shall advise the court in writing only that the mediation

has occurred, the date of the mediation, whether the case was settled in whole or in part, and whether

a trial is necessary.

        Attorneys primarily responsible for handling the trial, as well as the parties and/or insurer

representatives with full settlement authority are ORDERED to be present in person at the

mediation. “Full settlement authority” for the defendant means an individual who can decide to

offer the plaintiff a sum up to the existing demand of the plaintiff or the policy limits of any

applicable insurance policy, whichever is less. “Full settlement authority” for the plaintiff means

the plaintiff himself or herself or a representative of the plaintiff who can make a binding decision

on behalf of the plaintiff or plaintiffs.

        If any reason exists why any person, party, or counsel subject to this Order should not attend

this mediation, an appropriate motion should be filed at least three weeks prior to mediation.



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Counsel are responsible for notifying and ensuring the presence of the parties and/or insurer

representatives as described above.

       Any questions concerning the selection of a mediator or the mediation process generally

should be referred to the court’s ADR Program Director, Danny Mullis, at (843) 579-1435.

       AND IT IS SO ORDERED.


                                                  S/ Richard M. Gergel
                                                  United States District Judge

August 28, 2018
Charleston, South Carolina




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